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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

JOEL GIROIR, on behalf of himself and all
similarly situated individuals,

Plaintiff,
                                                      CIVIL ACTION NO. 3:21-cv-108-JWD-SDJ
v.

JAMES LEBLANC, in his official capacity as
Secretary of the Louisiana Department of
Public Safety & Corrections; and
THE LOUISIANA DEPARTMENT OF
PUBLIC SAFETY & CORRECTIONS,

Defendants.


                   PLAINTIFF’S MOTION FOR CLASS CERTIFICATION

         COMES NOW, Plaintiff in the above-captioned matter, by and through undersigned

counsel, and moves this Court to grant Plaintiff’s motion to certify a class defined as: all persons

who have been, or will be, sentenced to the custody of the DOC, and who were, or will be, entitled

to release at the time of their sentencing, but who nevertheless remain in custody, now or in the

future, for more than 48 hours past their sentencing dates.

         In support of this motion, Plaintiff relies upon the accompanying memorandum.

Respectfully submitted this 19th day of February, 2021.

                                                      /s/ Mercedes Montagnes

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                                                      Nishi Kumar, La. Bar No. 37415
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                                                         Attorneys for Plaintiff



                                   CERTIFICATE OF SERVICE

       I, Rebecca Ramaswamy, an attorney, hereby certify that on February 19, 2021, I caused a
copy of the foregoing to be filed using the Court’s CM/ECF system.

       I further certify that I, or another of Plaintiff’s attorneys, will promptly electronically serve a
copy of the same, along with all other pleadings and papers filed in the action to date to the General
Counsel for the Louisiana Department of Corrections.




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